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                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                GREENVILLE DIVISION

IN RE:
JOSEPH LAMONTE HUMPHREY                                      Case No. 19-01078-5-JNC
             Debtor
____________________________________

JOSEPH LAMONTE HUMPHREY
           Plaintiff,                                        Adversary Proceeding
      v.                                                     No.:

CYPRUS FINANCE COMPANY
           Defendant

                           COMPLAINT TO AVOID TRANSFER

                                 PRELIMINARY STATEMENT

        1. That this is an action by Debtor-Plaintiff, Joseph Lamonte Humphrey (hereinafter
“Debtor”) pursuant to 11 U.S.C. §522 (h) and (i) and 11 U.S.C §547 to avoid the involuntary
transfer of property from Debtor-Plaintiff to Defendant.

                                         JURISDICTION

       2. That jurisdiction of the United States Bankruptcy Court over this matter is provided by
28 U.S.C. §§ 151, 157 and 1334 as amended.

        3. That debtor-plaintiffs’ claim for relief is a core proceeding under 11 U.S.C. § 522 (h)
and (i) to avoid a transfer.

                                            PARTIES

        4. That the debtor is an individual residing in Northampton County, North Carolina, and
filed a petition in bankruptcy under Chapter 7 on March 8, 2019.

       5. That upon information and belief defendant Cyprus Finance Company is a corporation
located in Virginia Beach, Virginia authorized to do business in the state of North Carolina.

                                  FACTUAL ALLEGATIONS

       6. The debtor involuntarily transferred the following property to defendant, totaling
$1,264.11:

               a. Garnishments of wages from debtor Joseph Humphrey’s paycheck in the
                  amount of $100.68 on March 7, 2019 which was received by the defendant
                  herein.
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              b. Garnishments of wages from debtor Joseph Humphrey’s paycheck in the
                 amount of $83.71 on February 28, 2019 which was received by the defendant
                 herein.

              c. Garnishments of wages from debtor Joseph Humphrey’s paycheck in the
                 amount of $158.26 on February 21, 2019 which was received by the defendant
                 herein.

              d. Garnishments of wages from debtor Joseph Humphrey’s paycheck in the
                 amount of $62.66 on February 14, 2019 which was received by the defendant
                 herein.

              e. Garnishments of wages from debtor Joseph Humphrey’s paycheck in the
                 amount of $158.87 on February 7, 2019 which was received by the defendant
                 herein.

              f. Garnishments of wages from debtor Joseph Humphrey’s paycheck in the
                 amount of $164.44 on January 31, 2019 which was received by the defendant
                 herein.

              g. Garnishments of wages from debtor Joseph Humphrey’s paycheck in the
                 amount of $135.90 on January 24, 2019 which was received by the defendant
                 herein.

              h. Garnishments of wages from debtor Joseph Humphrey’s paycheck in the
                 amount of $198.04 on January 17, 2019 which was received by the defendant
                 herein.

              i. Garnishments of wages from debtor Joseph Humphrey’s paycheck in the
                 amount of $99.20 on January 10, 2019 which was received by the defendant
                 herein.

              j. Garnishments of wages from debtor Joseph Humphrey’s paycheck in the
                 amount of $102.35 on January 3, 2019 which was received by the defendant
                 herein.

       7. Debtor has claimed the property as exempt in Schedule C-1 filed with the Court.

       8. On April 9, 2019, the Trustee submitted a “Chapter 7 Trustee’s Report of No
Distribution” in the Debtor’s pending Chapter 7 bankruptcy.

                                    CLAIM FOR RELIEF

        9. Debtor could have exempted such property under 11 U.S.C. § 522(g)(1) if the Trustee
had attempted to avoid the transfer. The Debtor did not conceal the property.
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       10. The Trustee could have avoided the transfer under 11 U.S.C. §547 because:

              a. The wage garnishments occurred on or within ninety (90) days before the date
                 of the filing of the petition;
              b. At the time of such transfer, defendant was a creditor of debtor on account of
                 debts assigned to Defendant;
              c. Said transfer of property, described in subparagraph (a) above, was intended
                 by the parties as payment for the debt described in subparagraph (b) above;
              d. At the time of such transfer of property, debtor was insolvent; and
              e. Due to the above described transfer of property, defendant received more than
                 defendant would have received if the case were a case under chapter 7 of the
                 Bankruptcy Code, the transfer had not been made, and defendant received
                 payment of such debt to the extent provided by the provisions of the
                 Bankruptcy Code.

        11. The Trustee did not attempt to avoid the transfer. Therefore, the Debtor may avoid
the transfer under 11 U.S.C. §522(h).

       12. Debtor could have exempted such property under 11 U.S.C. § 522(b) and did exempt
such property.

       WHEREFORE, debtor prays the Court for the following relief:

       1. To avoid the involuntary transfer of property from debtor to defendant; and

       2. Order defendant to return the sum of $1,264.11 to debtor herein within 30 days of the
          entry of the Judgment.

       This the 11th day of April, 2019

                                                   SOSNA LAW OFFICES, PLLC



                                                   By: s/Palmer E. Huffstetler, III
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